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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION




UNITED STATES OF AMERICA,                           )
                                                    )
v.                                                  )   CRIMINAL NO. 1:08-CR-337 LY
                                                    )
George Lewis ESCAMILLA,                             )



       United States= Response to the Defendant’s Motion for Compassionate Release


       Comes now the United States Attorney, for the Western District of Texas, by and through

the undersigned Assistant United States Attorney, and files this Response to the defendant’s

Motion to Motion for Compassionate Release under the First Step Act.

       The defendant filed his motion on March 29, 2019. He did not serve a copy on the United

States Attorney’s office; rather, a copy was forwarded to the undersigned by the Court on April 3,

2019. The United States requested information from the United States Bureau of Prisons (BOP)

thereafter. Essentially, the information contained in the defendant’s motion was confirmed by the

BOP. For the reasons stated below, the Motion should be denied.

       Applicable Law

       On December 21, 2018, the First Step Act of 2018 (P.L. 115-391) was signed into law.

The act was the culmination of several years of congressional debate about what Congress might

do to reduce the size of the federal prison population while also creating mechanisms to maintain

public safety. The act has three major components: (1) correctional reform via the establishment

of a risk and needs assessment system at the Bureau of Prisons (BOP), (2) sentencing reform via

changes to penalties for some federal offenses, and (3) the reauthorization of the Second Chance
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Act of 2007 (P.L. 110-199). The act also contains a series of other criminal justice-related

provisions. Among those are changes to the Compassionate Release program.

       Prior to the act, compassionate release was difficult to understand and even more difficult

to obtain. Existing law only allowed for compassionate release if the BOP filed a motion with an

inmate’s sentencing court seeking a sentence reduction under certain limited circumstances.

The two biggest limitations to compassionate release prior to the First Step Act were these: 1)

only the BOP could bring a motion seeking compassionate release; and 2) if BOP did not want to

bring a motion for compassionate release there was nothing an inmate could do to have their

request reviewed by a court. Consequently, many inmates never received a sentence reduction

despite arguably being eligible for compassionate release. The First Step Act changed the way

compassionate release requests are handled.

       The act now provides that a motion for compassionate release can be filed with the

sentencing court by either the inmate, or the BOP. Before an inmate can request compassionate

release from a judge, the prisoner must submit an administrative request to the BOP. If the

Warden fails to act within 30 days of the prisoner’s request, the inmate can proceed to court

immediately. Alternatively, the prisoner can move for compassionate release with the court 30

days after the prisoner’s grievances have been exhausted.

       The act does not change the statutory standard for receiving compassionate release.

Specifically, for compassionate release to be granted, a prisoner must have:

       (i) extraordinary and compelling reasons warrant such a reduction; or

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,

       pursuant to a sentence imposed under section 3559(c), for the offense or offenses for

       which the defendant is currently imprisoned, and a determination has been made by the

       Director of the Bureau of Prisons that the defendant is not a danger to the safety of any
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       other person or the community, as provided under section 3142(g);

       and that such a reduction is consistent with applicable policy statements issued by the

       Sentencing Commission

18 U.S.C. 3582(C)(1)(A)(i)-(ii). The “applicable policy statements issued by the Sentencing

Commission” refers to U.S.S.G. 1B1.13, a provision of the Sentencing Guidelines. In light of the

First Step Act, Commission is expected to amend 1B1.13 to provide district courts with further

clarity about what constitutes “extraordinary and compelling reasons.” No such amendments

have been drafted or added to the U.S.S.G. The Court must therefore look to section 1B1.13 for

guidance. Specifically, section 1B1.13, Application Note states:

Extraordinary and Compelling Reasons.—Provided the defendant meets the requirements of
subdivision (2), extraordinary and compelling reasons exist under any of the circumstances set
forth below:
(A)      Medical Condition of the Defendant.—
        (i)     The defendant is suffering from a terminal illness (i.e., a serious and advanced
        illness with an end of life trajectory). A specific prognosis of life expectancy (i.e., a
        probability of death within a specific time period) is not required. Examples include
        advanced dementia.

        (I) suffering from a serious physical or medical condition,
        (II) suffering from a serious functional or cognitive impairment, or
        (III) experiencing deteriorating physical or mental health because of the aging
        process, that substantially diminishes the ability of the defendant to provide self-care
        within the environment of a correctional facility and from which he or she is not expected
        to recover.
(B)      Age of the Defendant.—The defendant (i) is at least 65 years old; (ii) is experiencing a
serious deterioration in physical or mental health because of the aging process; and (iii) has
served at least 10 years or 75 percent of his or her term of imprisonment, whichever is less.

       Procedural History

       The defendant timely exhausted his administrative remedies in this case. On February 1,

2019 he requested Compassionate Release from the Warden of the BOP facility in which he is

housed. On February 15, 2019, the Warden responded and denied the request. The defendant filed

an appeal of the denial on February 21, 2019. There is no record of a response to this request from

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the Warden. On March 29, 2019, the defendant filed this motion with the Court.

       Applicability of the Act to the defendant

The defendant is not suffering from a terminal illness, or a serious and advanced illness with an

end of life trajectory. Nor does he suffer from a serious physical or medical condition (as defined

by the act), or from a serious functional or cognitive impairment. Moreover, he is not

experiencing a serious deterioration in physical or mental health because of the aging process.

Rather, he alleges his motion should be granted because he is experiencing deteriorating physical

or mental health because of the aging process, that substantially diminishes the ability of the

defendant to provide self-care within the environment of a correctional facility and from which

he or she is not expected to recover. Motion at 3-6; USSG, section 1B1.13, application note A,

III. Other than his bald statement, he offers no evidence to establish his claim. Even if the Court

takes all of his statements as true, the law does not support his request.

       In his response to the defendant’s petition, the Warden stated:

       You state you are a double amputee as a result from chronic diabetes and suffer
       from high blood pressure and are anemic. These medical conditions are not solely
       related to the aging process and you are able to function in a correctional setting.
       In addition, you were at a Medical Center and due to your health progress you were
       released to return to FCC Oakdale. Furthermore, you failed to provide reasoning
       why conventional treatment promises no substantial improvement to your mental or
       physical condition. As such, your request for a Compassionate Release is denied at
       this time. Date: February 15, 2019.

Motion at 4. First, the defendant offers no evidence in the form of medical records to indicate

whether or not his diabetes, high blood pressure and anemia are controlled or uncontrolled with

therapy, diet or medication; further he offers no therapy notes, staff observations, affidavits or

statements from individuals who have observed his mobility issues; nor does he offer any other

records to support his claim. In fact, he acquiesces to the Warden’s observation that he has

indeed from his medical conditions sufficiently to be moved from a Medical Center to the FCC.

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While his condition certainly imposes significant limitations on his mobility, there is no evidence

to support his claims as to the severity of these limitations. Moreover, these same limitations

would be present if the defendant was not incarcerated.

        Finally, application note A. III is applicable when the defendant’s is “experiencing

deteriorating physical or mental health because of the aging process, that substantially

diminishes the ability of the defendant to provide self-care within the environment of a

correctional facility and from which he or she is not expected to recover.” U.S.S.G. 1B1.13,

application note A. III (emphasis added). There is no evidence that the defendant’s condition is

caused by the aging process. Further, there is no evidence regarding the current status of his

medical conditions, or the prognosis for control of those conditions. Finally, there is no evidence

regarding the status of any occupational therapy the defendant has received or is receiving due to

the loss of his legs. Tens of thousands of bilateral amputees are confined to wheel chairs, lead

productive lives, and are able to care for themselves. The defendant’s bald allegations, without

evidence or support, are not sufficient to justify his release under applicable law.

        Therefore, the United States would suggest that the defendant’s motion be denied at this

time.

                                                      JOHN F. BASH
                                                      UNITED STATES ATTORNEY
                                                      /s/ Mark H. Marshall
                                                      MARK H. MARSHALL
                                                      Assistant U. S. Attorney
                                                      903 San Jacinto Blvd., Ste. 334
                                                      Austin, Texas 78701
                                                      512/916-5858
                                                      Fax 512/916-5855
                                                      State Bar No. 13032500


                                       Certificate of Service

        I hereby certify that on May 31, 2019, a true and correct copy of the foregoing
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Government's Response to the defendant’s Motion for Compassionate Release has been filed using

the court=s electronic filing system. A copy of the Response has been sent by certified mail to the

defendant at the address noted below:

George Lewis Escamilla, Sr.
# 43385-080
Petitioner Pro Se
Satellite Prison Camp
P.O. Box 5010
Oakdale, LA 71463


                                                     /s/ Mark H. Marshall
                                                     Mark H. Marshall
                                                     Assistant U. S. Attorney




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UNITED STATES OF AMERICA                               )
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v.                                                     )   CRIMINAL NO. 1:08-CR-337 LY
                                                       )
George Lewis ESCAMILLA,                                )

                                              ORDER

         Before the Court is the defendant’s Motion to Motion for Compassionate Release under

the First Step Act. The Court has considered said motion, in light of the entire file in this case, and

hereby

         ORDERS that the motion be denied.

         ENTERED on this the         day of                       , 2019.




                                                                          _
                                               UNITED STATES DISTRICT JUDGE




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